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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

HONG LIU,
Plaintiff,
-against-
ORDER
FARADAY&FUTURE INC.; SMART :
KING LTD.; JIAWEI WANG; CHAOYING : 20 Civ. 19 (GBD)

DENG,

Defendants.

GEORGE B. DANIELS, District Judge:

The oral argument scheduled for August 20, 2020 is adjourned to August 26, 2020 at
10:30 a.m. and shall occur as a videoconference using the Skype platform.

To optimize the quality of the video feed, only the Court, Plaintiff's counsel, and
Defendant’s counsel will appear by video for the proceeding; all others will participate by
telephone. Due to the limited capacity of the Skype system, only one counsel per party may
participate. Co-counsel, members of the press, and the public may access the audio feed of the
conference by calling (917) 933-2166 and entering the code ID 267636548.

To optimize use of the Court’s video conferencing technology, all participants in the call

must:

1. Use a browser other than Microsoft Explorer to access Skype for Business;
Position the participant’s device as close to the WiFi router as is feasible;
3. Ensure any others in the participant’s household are not using WiFi during the
period of the call;
4. Unless the participant is using a mobile telephone to access Skype for
Business, connect to audio by having the system call the participant;
If there is ambient noise, the participant must mute his or her device when not speaking.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of those
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accessing the conference —- whether in listen-only mode or otherwise — are reminded that
recording or rebroadcasting of the proceeding is prohibited by law.

To the extent that there are any documents relevant to the proceeding, counsel should
submit them to the Court (by email or on ECF, as appropriate) at least 24 hours prior to the

proceeding.

Dated: August 10, 2020
New York, New York
SO ORDERED.

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GED RGE B. DANIELS
Cen TATES DISTRICT JUDGE

 

 

 

 
